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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


  CITY OF WARWICK RETIREMENT              Case No. 3:23-cv-01108-ZNQ-DEA
  SYSTEM, Individually and on behalf of
  all others similarly situated,          Hon. Judge Zahid N. Quraishi
                                          District Judge
                    Plaintiff,
                                          Hon. Douglas E. Arpert
        v.                                Magistrate Judge

  CATALENT, INC., JOHN
  CHIMINSKI, ALESSANDRO
  MASELLI, and THOMAS
  CASTELLANO,

                    Defendants.




    JOINT STIPULATION AND [PROPOSED] SCHEDULING ORDER
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       Lead Plaintiffs SEB Investment Management AB and Public Employees’

 Retirement System of Mississippi (“Lead Plaintiffs”), and defendants Catalent, Inc.,

 John Chiminski, Alessandro Maselli, and Thomas Castellano (collectively,

 “Defendants”), by and through their counsel, hereby stipulate and agree to the

 following matters:

       WHEREAS, on May 25, 2023, the parties filed a stipulation and a proposed

 order (the “May 25, 2023 Stipulation,” ECF No. 28) stating that:

      1.     Undersigned counsel for Defendants accepts service of the summonses

and the initial complaint in this matter on behalf of the Defendants, without prejudice

and without waiver of Defendants’ defenses, objections, or arguments, except as to

sufficiency of service of process;

      2.     Defendants are not required to answer, move against, or otherwise

respond to the initial complaint unless it is designated as the operative complaint by

the Court-appointed lead plaintiff;

      3.     Within fourteen (14) days of appointment of lead plaintiff pursuant to 15

U.S.C. § 78u-4, counsel for the Court-appointed lead plaintiff and Defendants shall

meet and confer regarding scheduling and shall submit a stipulation for the Court’s

approval with the parties’ proposed schedule for the filing of an amended class action

complaint (if any) and the filing of any motion to dismiss; and

       WHEREAS, as of this filing, the May 25, 2023 Stipulation remains pending

 before the Court;
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       WHEREAS, on June 12, 2023, the Court issued an Order appointing SEB

 Investment Management AB and Public Employees’ Retirement System of

 Mississippi as Lead Plaintiffs and approving their selection of Kessler Topaz Meltzer

 & Check, LLP and Labaton Sucharow LLP as Co-Lead Counsel and Carella, Byrne,

 Cecchi, Brody & Agnello, P.C. as Liaison Counsel for the Class (ECF No. 30);

       WHEREAS, Lead Plaintiffs intend to file an amended complaint;

       WHEREAS, Defendants anticipate moving to dismiss Lead Plaintiffs’

 amended complaint;

       WHEREAS, the parties have conferred on an appropriate case schedule;

       NOW, THEREFORE, the parties, by and through their undersigned counsel

 of record, in the interests of judicial economy, hereby agree and stipulate, subject to

 the Court’s approval, that:

      1.     Lead Plaintiffs shall file an amended complaint on September 15, 2023;

      2.     Defendants shall file their motion(s) to dismiss on November 15, 2023;

      3.     Lead Plaintiffs shall file any opposition to Defendants’ motion(s) to

dismiss on January 15, 2024;

      4.     Defendants shall file any reply in further support of their motion(s) to

dismiss on February 15, 2024;

      5.     This stipulation shall not prejudice Defendants’ or Lead Plaintiffs’ rights

to request reasonable extensions or seek any other appropriate orders from the Court.


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IT IS SO STIPULATED.


Dated: June 21, 2023

Respectfully submitted,

/s/ James E. Cecchi                        /s/ Kevin H. Marino
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CARELLA, BYRNE, CECCHI,
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Co-Lead Counsel for Lead Plaintiffs
SEB Investment Management AB and
Public Employees’ Retirement System
of Mississippi, and the Class


IT IS SO ORDERED.



DATED:                  , 2023



                                          Honorable Zahid N. Quraishi
                                          United States District Judge




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